        Case 18-11152-JCM                       Doc 46        Filed 10/04/23 Entered 10/04/23 15:57:55                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              GILBERT BURKS ASHER


     Debtor 2              JANE WINDHORST ASHER
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          18-11152JCM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  LAKEVIEW LOAN SERVICING LLC                                                      3

 Last 4 digits of any number you use to identify the debtor's account                         1   3   9   9

 Property Address:                             6300 MEADOWLAND CIRCLE
                                               ERIE PA 16509




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $           1.96

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $           1.96

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $           1.96



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $      $1,323.98
         The next postpetition payment is due on                11 / 1 / 2023
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     GILBERT BURKS ASHER                                              Case number (if known) 18-11152JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     10/04/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     GILBERT BURKS ASHER                                        Case number (if known) 18-11152JCM
             Name




                                              Disbursement History

Date         Check #    Name                                  Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
03/25/2019 1113376      QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                          1.96
                                                                                                                     1.96

MORTGAGE REGULAR PAYMENT (Part 3)
03/25/2019   1113376    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       6,542.05
04/26/2019   1116696    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,308.41
05/24/2019   1120084    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,308.41
06/25/2019   1123498    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,308.41
07/29/2019   1126935    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,308.41
08/27/2019   1130420    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,308.41
09/24/2019   1133676    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,308.41
10/24/2019   1137058    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,308.41
11/25/2019   1140511    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,305.12
12/23/2019   1143909    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,305.12
01/28/2020   1147372    QUICKEN LOANS INC                     AMOUNTS DISBURSED TO CREDITOR                       1,305.12
02/25/2020   1150275    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
03/23/2020   1153758    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
04/27/2020   1157218    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
05/26/2020   1160557    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
06/26/2020   1163690    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
07/29/2020   1166817    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
08/25/2020   1169891    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
09/28/2020   1172979    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
10/26/2020   1176067    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
11/24/2020   1179145    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
12/21/2020   1182100    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,305.12
01/25/2021   1185064    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,369.14
02/22/2021   1188180    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
03/26/2021   1191464    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
04/26/2021   1194727    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
05/25/2021   1197865    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
06/25/2021   1201043    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
07/26/2021   1204253    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
08/26/2021   1207376    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
09/24/2021   1210497    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
10/25/2021   1213574    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,326.46
11/22/2021   1216613    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
12/23/2021   1219670    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
01/26/2022   1222742    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
02/23/2022   1225636    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
03/25/2022   1228582    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
04/26/2022   1231604    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
05/25/2022   1234637    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
06/27/2022   1237662    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
07/26/2022   1240615    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
08/24/2022   1243515    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
09/27/2022   1246378    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
10/25/2022   1249209    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
11/23/2022   1251986    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
12/22/2022   1254756    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
01/26/2023   1257483    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
02/23/2023   1260112    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
03/28/2023   1262875    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
04/25/2023   1265697    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
05/25/2023   1268547    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
06/26/2023   1271447    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
07/25/2023   1274224    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
08/25/2023   1276994    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,330.53
09/26/2023   1279752    LAKEVIEW LOAN SERVICING LLC           AMOUNTS DISBURSED TO CREDITOR                       1,258.48
                                                                                                                 77,810.02




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

GILBERT BURKS ASHER
JANE WINDHORST ASHER
6300 MEADOWLAND CIRCLE
ERIE, PA 16509

KURT L SUNDBERG ESQ
MARSH SPAEDER ET AL
300 STATE ST STE 300
ERIE, PA 16507

LAKEVIEW LOAN SERVICING LLC
C/O FLAGSTAR BANK FSB
ATTN BANKRUPTCY DEPT
5151 CORPORATE DR
TROY, MI 48098-2639

BRIAN C NICHOLAS ESQ
KML LAW GROUP PC
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




10/4/23                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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